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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

JONESBORO DIVISION
ANTHONY GANUS PLAINTIFF
VS. NO. 3:19-CV-00027-BSM
GREENE COUNTY, ARKANSAS DEFENDANT

DEFENDANT’S OFFER OF JUDGMENT

Comes now the Defendant, pursuant to Rule 68 of the Federal Rules of Civil Procedure, and

offer judgment in the above-styled matter as follows:

l. Upon acceptance of this Rule 68 Offer of Judgment, the Defendant County shall pay

to the Plaintiff the sum of $2,500 as damages.

2: If this offer is accepted:

Plaintiff agrees to dismiss, with prejudice, all claims against Greene County,
Arkansas, and

the Defendant County agrees to pay, in addition to $2,500 as damages, any
reasonable attorney’s fees and costs attributable to Plaintiffs’ cause of action
against the Defendant, as determined by the Court, ai the time of the offer Gif
it cannot be negotiated by the parties to the satisfaction of Plaintiff and his

legal counsel).

3, This offer is made for the sole purpose of attempting to settle this matter without

resort to further litigation and the matters set forth herein shall not be construed as

an admission or stipulation of liability or of any other sort. Per Rule 68, this offer
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must be accepted within ten (10) days after service of the offer on the Plaintiff or the
offer shall be deemed withdrawn and evidence thereof shall not be admissible except
as permitted by Rule 68 in any proceeding to determine attorney’s fees and costs due

Plaintiff as a prevailing party.

Respectfully submitted,

GREENE COUNTY, ARKANSAS, Defendant
Jason E. Owens

Ark. Bar. No. 2003003

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CERTIFICATE OF SERVICE

I hereby certify that, on June \{® 2019, I sent the foregoing to the following, via
certified mail:

Mr. Joshua Sanford

Ms. Stacy Gibson

Mr. Blake Hoyt

Sanford Law Firm

One Financial Center

650 S. Shackleford, Ste 411
Little Rock, AR 72211

Jason E. Owens

 

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